     Case 2:85-cv-04544-DMG-AGR Document 262-6 Filed 09/19/16 Page 1 of 76 Page ID
                                      #:7895



1       CENTER FOR HUMAN RIGHTS & CONSTITUTIONAL LAW
        Peter A. Schey (Cal. Bar No. 58232)
2       Carlos Holguín (Cal. Bar No. 90754)
3       256 South Occidental Boulevard
        Los Angeles, CA 90057
4       Telephone: (213) 388-8693
5       Facsimile: (213) 386-9484
        Email: pschey@centerforhumanrights.org
6              crholguin@centerforhumanrights.org
7
8       ORRICK, HERRINGTON & SUTCLIFFE LLP
9
        Elena Garcia (Cal. Bar No. 299680)
        egarcia@orrick.com
10      777 South Figueroa Street, Suite 3200
11
        Los Angeles, CA 90017
        Telephone: (213) 629-2020
12
13
14      Attorneys for plaintiffs (listing continues on following page)
15                                  UNITED STATES DISTRICT COURT
16
                        CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
17
18
        JENNY LISETTE FLORES, et al.,         )      Case No. CV 85-4544 DMG (AGRx)
19                                            )
               Plaintiffs,                    )      EXHIBIT 3 – DEPOSITION OF JOSHUA
20
        - vs -                                )      REID – PART 2
21                                            )
        LORETTA E. LYNCH, ATTORNEY            )      Hearing: October 6, 2016
22
        GENERAL OF THE UNITED STATES, et al., )
23                                            )
               Defendants.                    )
24
                                          _ )
25
26
        Plaintiffs’ counsel, continued:
27
28
     Case 2:85-cv-04544-DMG-AGR Document 262-6 Filed 09/19/16 Page 2 of 76 Page ID
                                      #:7896

1
2       LA RAZA CENTRO LEGAL, INC.
        Michael S. Sorgen (Cal. Bar No. 43107)
3       474 Valencia Street, #295
        San Francisco, CA 94103
4
        Telephone: (415) 575-3500
5
        THE LAW FOUNDATION OF SILICON VALLEY
6       LEGAL ADVOCATES FOR CHILDREN AND YOUTH
7       PUBLIC INTEREST LAW FIRM
        Jennifer Kelleher Cloyd (Cal. Bar No. 197348)
8       Katherine H. Manning (Cal. Bar No. 229233)
        Kyra Kazantzis (Cal. Bar No. 154612)
9
        Annette Kirkham (Cal. Bar No. 217958)
10      152 North Third Street, 3rd floor
        San Jose, CA 95112
11      Telephone: (408) 280-2437
12      Facsimile: (408) 288-8850
        Email: jenniferk@lawfoundation.org
13             kate.manning@lawfoundation.org
               kyrak@lawfoundation.org
14             annettek@lawfoundation.org
15
        Of counsel:
16
17
        YOUTH LAW CENTER
        Alice Bussiere (Cal. Bar No. 114680)
18      Virginia Corrigan (Cal. Bar No. 292035)
        200 Pine Street, Suite 300
19      San Francisco, CA 94104
20      Telephone: (415) 543-3379 x 3903

21
22
23
24
25
26
27

28
Case 2:85-cv-04544-DMG-AGR Document 262-6 Filed 09/19/16 Page 3 of 76 Page ID
                                 #:7897
Case 2:85-cv-04544-DMG-AGR Document 262-6 Filed 09/19/16 Page 4 of 76 Page ID
                                 #:7898
Case 2:85-cv-04544-DMG-AGR Document 262-6 Filed 09/19/16 Page 5 of 76 Page ID
                                 #:7899
Case 2:85-cv-04544-DMG-AGR Document 262-6 Filed 09/19/16 Page 6 of 76 Page ID
                                 #:7900
Case 2:85-cv-04544-DMG-AGR Document 262-6 Filed 09/19/16 Page 7 of 76 Page ID
                                 #:7901
Case 2:85-cv-04544-DMG-AGR Document 262-6 Filed 09/19/16 Page 8 of 76 Page ID
                                 #:7902
Case 2:85-cv-04544-DMG-AGR Document 262-6 Filed 09/19/16 Page 9 of 76 Page ID
                                 #:7903
Case 2:85-cv-04544-DMG-AGR Document 262-6 Filed 09/19/16 Page 10 of 76 Page ID
                                  #:7904
Case 2:85-cv-04544-DMG-AGR Document 262-6 Filed 09/19/16 Page 11 of 76 Page ID
                                  #:7905
Case 2:85-cv-04544-DMG-AGR Document 262-6 Filed 09/19/16 Page 12 of 76 Page ID
                                  #:7906
Case 2:85-cv-04544-DMG-AGR Document 262-6 Filed 09/19/16 Page 13 of 76 Page ID
                                  #:7907
Case 2:85-cv-04544-DMG-AGR Document 262-6 Filed 09/19/16 Page 14 of 76 Page ID
                                  #:7908
Case 2:85-cv-04544-DMG-AGR Document 262-6 Filed 09/19/16 Page 15 of 76 Page ID
                                  #:7909
Case 2:85-cv-04544-DMG-AGR Document 262-6 Filed 09/19/16 Page 16 of 76 Page ID
                                  #:7910
Case 2:85-cv-04544-DMG-AGR Document 262-6 Filed 09/19/16 Page 17 of 76 Page ID
                                  #:7911
Case 2:85-cv-04544-DMG-AGR Document 262-6 Filed 09/19/16 Page 18 of 76 Page ID
                                  #:7912
Case 2:85-cv-04544-DMG-AGR Document 262-6 Filed 09/19/16 Page 19 of 76 Page ID
                                  #:7913
Case 2:85-cv-04544-DMG-AGR Document 262-6 Filed 09/19/16 Page 20 of 76 Page ID
                                  #:7914
Case 2:85-cv-04544-DMG-AGR Document 262-6 Filed 09/19/16 Page 21 of 76 Page ID
                                  #:7915
Case 2:85-cv-04544-DMG-AGR Document 262-6 Filed 09/19/16 Page 22 of 76 Page ID
                                  #:7916
Case 2:85-cv-04544-DMG-AGR Document 262-6 Filed 09/19/16 Page 23 of 76 Page ID
                                  #:7917
Case 2:85-cv-04544-DMG-AGR Document 262-6 Filed 09/19/16 Page 24 of 76 Page ID
                                  #:7918
Case 2:85-cv-04544-DMG-AGR Document 262-6 Filed 09/19/16 Page 25 of 76 Page ID
                                  #:7919
Case 2:85-cv-04544-DMG-AGR Document 262-6 Filed 09/19/16 Page 26 of 76 Page ID
                                  #:7920
Case 2:85-cv-04544-DMG-AGR Document 262-6 Filed 09/19/16 Page 27 of 76 Page ID
                                  #:7921
Case 2:85-cv-04544-DMG-AGR Document 262-6 Filed 09/19/16 Page 28 of 76 Page ID
                                  #:7922
Case 2:85-cv-04544-DMG-AGR Document 262-6 Filed 09/19/16 Page 29 of 76 Page ID
                                  #:7923
Case 2:85-cv-04544-DMG-AGR Document 262-6 Filed 09/19/16 Page 30 of 76 Page ID
                                  #:7924
Case 2:85-cv-04544-DMG-AGR Document 262-6 Filed 09/19/16 Page 31 of 76 Page ID
                                  #:7925
Case 2:85-cv-04544-DMG-AGR Document 262-6 Filed 09/19/16 Page 32 of 76 Page ID
                                  #:7926
Case 2:85-cv-04544-DMG-AGR Document 262-6 Filed 09/19/16 Page 33 of 76 Page ID
                                  #:7927
Case 2:85-cv-04544-DMG-AGR Document 262-6 Filed 09/19/16 Page 34 of 76 Page ID
                                  #:7928
Case 2:85-cv-04544-DMG-AGR Document 262-6 Filed 09/19/16 Page 35 of 76 Page ID
                                  #:7929
Case 2:85-cv-04544-DMG-AGR Document 262-6 Filed 09/19/16 Page 36 of 76 Page ID
                                  #:7930
Case 2:85-cv-04544-DMG-AGR Document 262-6 Filed 09/19/16 Page 37 of 76 Page ID
                                  #:7931
Case 2:85-cv-04544-DMG-AGR Document 262-6 Filed 09/19/16 Page 38 of 76 Page ID
                                  #:7932
Case 2:85-cv-04544-DMG-AGR Document 262-6 Filed 09/19/16 Page 39 of 76 Page ID
                                  #:7933
Case 2:85-cv-04544-DMG-AGR Document 262-6 Filed 09/19/16 Page 40 of 76 Page ID
                                  #:7934
Case 2:85-cv-04544-DMG-AGR Document 262-6 Filed 09/19/16 Page 41 of 76 Page ID
                                  #:7935
Case 2:85-cv-04544-DMG-AGR Document 262-6 Filed 09/19/16 Page 42 of 76 Page ID
                                  #:7936
Case 2:85-cv-04544-DMG-AGR Document 262-6 Filed 09/19/16 Page 43 of 76 Page ID
                                  #:7937
Case 2:85-cv-04544-DMG-AGR Document 262-6 Filed 09/19/16 Page 44 of 76 Page ID
                                  #:7938
Case 2:85-cv-04544-DMG-AGR Document 262-6 Filed 09/19/16 Page 45 of 76 Page ID
                                  #:7939
Case 2:85-cv-04544-DMG-AGR Document 262-6 Filed 09/19/16 Page 46 of 76 Page ID
                                  #:7940
Case 2:85-cv-04544-DMG-AGR Document 262-6 Filed 09/19/16 Page 47 of 76 Page ID
                                  #:7941
Case 2:85-cv-04544-DMG-AGR Document 262-6 Filed 09/19/16 Page 48 of 76 Page ID
                                  #:7942
Case 2:85-cv-04544-DMG-AGR Document 262-6 Filed 09/19/16 Page 49 of 76 Page ID
                                  #:7943
Case 2:85-cv-04544-DMG-AGR Document 262-6 Filed 09/19/16 Page 50 of 76 Page ID
                                  #:7944
Case 2:85-cv-04544-DMG-AGR Document 262-6 Filed 09/19/16 Page 51 of 76 Page ID
                                  #:7945
Case 2:85-cv-04544-DMG-AGR Document 262-6 Filed 09/19/16 Page 52 of 76 Page ID
                                  #:7946
Case 2:85-cv-04544-DMG-AGR Document 262-6 Filed 09/19/16 Page 53 of 76 Page ID
                                  #:7947
Case 2:85-cv-04544-DMG-AGR Document 262-6 Filed 09/19/16 Page 54 of 76 Page ID
                                  #:7948
Case 2:85-cv-04544-DMG-AGR Document 262-6 Filed 09/19/16 Page 55 of 76 Page ID
                                  #:7949
Case 2:85-cv-04544-DMG-AGR Document 262-6 Filed 09/19/16 Page 56 of 76 Page ID
                                  #:7950
Case 2:85-cv-04544-DMG-AGR Document 262-6 Filed 09/19/16 Page 57 of 76 Page ID
                                  #:7951
Case 2:85-cv-04544-DMG-AGR Document 262-6 Filed 09/19/16 Page 58 of 76 Page ID
                                  #:7952
Case 2:85-cv-04544-DMG-AGR Document 262-6 Filed 09/19/16 Page 59 of 76 Page ID
                                  #:7953
Case 2:85-cv-04544-DMG-AGR Document 262-6 Filed 09/19/16 Page 60 of 76 Page ID
                                  #:7954
Case 2:85-cv-04544-DMG-AGR Document 262-6 Filed 09/19/16 Page 61 of 76 Page ID
                                  #:7955
Case 2:85-cv-04544-DMG-AGR Document 262-6 Filed 09/19/16 Page 62 of 76 Page ID
                                  #:7956
Case 2:85-cv-04544-DMG-AGR Document 262-6 Filed 09/19/16 Page 63 of 76 Page ID
                                  #:7957
Case 2:85-cv-04544-DMG-AGR Document 262-6 Filed 09/19/16 Page 64 of 76 Page ID
                                  #:7958
Case 2:85-cv-04544-DMG-AGR Document 262-6 Filed 09/19/16 Page 65 of 76 Page ID
                                  #:7959
Case 2:85-cv-04544-DMG-AGR Document 262-6 Filed 09/19/16 Page 66 of 76 Page ID
                                  #:7960
Case 2:85-cv-04544-DMG-AGR Document 262-6 Filed 09/19/16 Page 67 of 76 Page ID
                                  #:7961
Case 2:85-cv-04544-DMG-AGR Document 262-6 Filed 09/19/16 Page 68 of 76 Page ID
                                  #:7962
Case 2:85-cv-04544-DMG-AGR Document 262-6 Filed 09/19/16 Page 69 of 76 Page ID
                                  #:7963
Case 2:85-cv-04544-DMG-AGR Document 262-6 Filed 09/19/16 Page 70 of 76 Page ID
                                  #:7964
Case 2:85-cv-04544-DMG-AGR Document 262-6 Filed 09/19/16 Page 71 of 76 Page ID
                                  #:7965
Case 2:85-cv-04544-DMG-AGR Document 262-6 Filed 09/19/16 Page 72 of 76 Page ID
                                  #:7966
Case 2:85-cv-04544-DMG-AGR Document 262-6 Filed 09/19/16 Page 73 of 76 Page ID
                                  #:7967
Case 2:85-cv-04544-DMG-AGR Document 262-6 Filed 09/19/16 Page 74 of 76 Page ID
                                  #:7968
Case 2:85-cv-04544-DMG-AGR Document 262-6 Filed 09/19/16 Page 75 of 76 Page ID
                                  #:7969
Case 2:85-cv-04544-DMG-AGR Document 262-6 Filed 09/19/16 Page 76 of 76 Page ID
                                  #:7970
